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                                                                                          4/28/21
                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

 UNITED STATES OF AMERICA,
                                                                   3:21-cr-49
                                                        CASE NO. _________________
                Plaintiff,
                                                                Thomas Rose
                                                        JUDGE ____________________
        vs.
                                                        INFORMATION
 JON DEVOL,
 a/k/a JOHN ATKINS,                                     18 U. S. C. § 641

                Defendant.


THE UNITED STATES ATTORNEY CHARGES:


                                           COUNT 1
                                    (Theft of Public Money)

       From in or about July 2015, and continuing through in or about June 2020, in the

Southern District of Ohio, the defendant, JON DEVOL, did knowingly and willfully embezzle,

steal, purloin, and convert to his own use and the use of another, on a recurring basis, money

belonging to the United States and a department and agency thereof in a total amount greater

than $1,000, namely, Social Security benefits having a value of approximately $58,782.

       In violation of 18 U.S.C. § 641.

                                             VIPAL J. PATEL
                                             ACTING UNITED STATES ATTORNEY



                                             ____________________________________
                                             TIMOTHY LANDRY (MA 669554)
                                             SPECIAL ASSISTANT U.S. ATTORNEY
